                 Case 2:18-cr-00104-KJM Document 50 Filed 11/13/18 Page 1 of 2



 1 MICHAEL D. LONG (CA State Bar #149475)
   901 H Street, Suite 301
 2 Sacramento, CA 95814
   (916) 201-4188
 3 Mike.Long.Law@msn.com

 4

 5 Attorney for MICHAELANGELO SANCHEZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9 THE UNITED STATES OF AMERICA,          )               No. 18-104 KJM
                   Plaintiff,             )
10
                                          )               STIPULATION AND
11         v.                             )               ORDER REGARDING
                                          )               TEMPORARY APPROVAL
12   MICHAELANGELO SANCHEZ,               )               FOR TRAVEL
                                          )
13                                        )
14                     Defendant.         )               Judge: Hon. Kendall J. Newman
     _____________________________________)
15

16          Defendant Michaelangelo Sanchez, by and through his undersigned attorney of record, and
17 the United States of America, by and through undersigned Assistant U.S. Attorney Amanda Beck,

18 hereby stipulate as follows:

19          1.      Michaelangelo Sanchez is presently on supervised release.
20          2.      His conditions of supervised release include a special condition of home detention –
21 condition 14. (Dkt. No. 14.)

22          3.      Mr. Sanchez seeks permission to spend Thanksgiving Day, Christmas Eve Day and
23 Christmas Day with his family at his mother’s house – the address has been provided to USPTS

24 Walker.

25          4.      The government does not oppose this temporary modification of release
26 conditions.

27

                                                      1
                 Case 2:18-cr-00104-KJM Document 50 Filed 11/13/18 Page 2 of 2



 1          5.      Defense counsel has spoken to Mr. Sanchez’s Pretrial Services Officer, Darryl

 2 Walker. Mr. Walker informed defense counsel that Mr. Sanchez has complied with all of his

 3 special and standard conditions for the past several months and he does not oppose this temporary

 4 modification of Mr. Sanchez’s pre-trial release conditions.

 5          6.      The undersigned parties hereby stipulate that the Court may temporarily modify

 6 condition of release number 14. Mr. Sanchez is allowed to leave his own home and travel to his

 7 mother’s house on Thanksgiving Day, Christmas Eve Day and Christmas Day. Mr. Sanchez may

 8 leave his house at 8:00 a.m. and he must be back inside his house by 10:00 p.m. on Thanksgiving

 9 Day and Christmas Day.

10
     Dated: November 9, 2018                             Respectfully submitted,
11
                                                         /s/ Michael D. Long
12
                                                         MICHAEL D. LONG
13                                                       Attorney for Michaelangelo Sanchez

14

15
     Dated: November 9, 2018                             McGREGOR SCOTT
16                                                       United States Attorney
17                                                       /s/ Amanda Beck
18                                                       AMANDA BECK
                                                         Assistant U.S. Attorney
19

20

21                                       [PROPOSED] ORDER

22          Good cause appearing and having been shown, the Court hereby adopts the parties’

23 stipulation as its order.

24          SO ORDERED.

25 Dated: November 9, 2018

26

27

                                                     2
